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                                                      THE HONORABLE JOHN C. COUGHENOUR
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                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8
 9      UNITED STATES OF AMERICA,                           CASE NO. CR16-0327-JCC
10                             Plaintiff,
                                                            MINUTE ORDER
11              v.

12      ZACHARY ENTZ and NICOLE
        TRICHLER,
13
                               Defendants.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.

16 Coughenour, United States District Judge:

17          This matter comes before the Court on the parties’ stipulated motion to continue the trial

18 date and pretrial motions deadline. The Court finds:

19          (a) taking into account the exercise of due diligence, a failure to grant a continuance in

20 this case would deny counsel for Defendants the reasonable time necessary for effective

21 preparation due to counsel’s need for more time to review the evidence, consider possible

22 defenses, and gather evidence material to the defense, as set forth in 18 U.S.C.

23 § 3161(h)(7)(B)(iv); and

24          (b) a failure to grant such a continuance in this proceeding would likely result in a

25 miscarriage of justice, as set forth in 18 U.S.C. § 3161(h)(7)(B)(i); and

26          (c) the additional time requested is a reasonable period of delay, as Defendants have



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 1 requested more time to prepare for trial, to investigate the matter, to gather evidence material to

 2 the defense, and to consider possible defenses; and

 3          (d) the ends of justice will best be served by a continuance, and the ends of justice

 4 outweigh the best interests of the public and Defendants in any speedier trial, as set forth in 18

 5 U.S.C. § 3161(h)(7)(A); and

 6          (e) the additional time requested between the current trial date of February 21, 2017, and

 7 the new trial date is necessary to provide counsel for Defendants the reasonable time necessary

 8 to prepare for trial, considering their schedule and all of the facts set forth above.
 9          (f) that the period of delay from the date of this order to the new trial date is excludable
10 time pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (h)(7)(B)(iv).

11          Therefore, the Court ORDERS that the trial date in this matter shall be continued to May
12 22, 2017, at 9:30 a.m., and that pretrial motions shall be filed no later than April 10, 2017.

13          DATED this 11th day of January 2017.
14                                                           William M. McCool
                                                             Clerk of Court
15
                                                             s/Paula McNabb
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                                                             Deputy Clerk
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